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      In The United States Court of Federal Claims
                                            No. 02-24L

                                  (Filed: November 9, 2012)
                                          __________
 THE PUEBLO OF LAGUNA,

                               Plaintiff,

                        v.

 THE UNITED STATES,

                              Defendant.

                                            _________

                                             ORDER
                                            _________

       A telephonic status conference will be held in this case on Friday, November 16, 2012, at
11:00 a.m. (EST). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.




                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
